     Case 1:89-cr-01018-MP-GRJ           Document 1305         Filed 12/11/09    Page 1 of 2


                                                                                           Page 1 of 2


                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                                  CASE NO. 1:89-cr-01018-MP

LAWRENCE EDWARD HILL,

       Defendant.

_____________________________/

                                            ORDER

       This matter is before the Court on Doc. 1240, Motion to Terminate Probation by

Lawrence Edward Hill. The government has filed a response, Doc. 1241, which the Court has

reviewed. As an initial matter, Mr. Hill is on supervised release after a term of imprisonment

under 18 U.S.C. § 3583, and not probation. Additionally, to the extent that Mr. Hill simply

moves the Court to exercise its discretion under 18 U.S.C. § 3583(e)(1) to terminate his

supervision early, the conduct of the defendant in having three prior violations of supervised

release and the interests of justice do not warrant such termination.

       To the extent that Mr. Hill challenges this Courts imposition of supervised release at the

sentencing on his third violation, such challenge is untimely filed. Under Fed. R. Crim. P. 34 or

35, any such motion must be filed with 7 days; under Fed. R. App. P. 4, a Notice of Appeal of a

criminal judgment must be filed within 10 days. Moreover, any motion seeking to collaterally

attack a sentence must be brought via 28 U.S.C. § 2255. United States v. Jordan, 915 F.2d 622,

629 (11th Cir.1990). Since Mr. Hill's motion does not comply with any of these requirements, it

should be denied.
     Case 1:89-cr-01018-MP-GRJ           Document 1305         Filed 12/11/09      Page 2 of 2


                                                                                               Page 2 of 2


         Finally, even on its merits, Mr. Hill's motion should be denied. In Johnson v. U.S., 529

U.S. 694, 120 S.Ct. 1795 (2000), the Supreme Court agreed with Mr. Hill that 18 U.S.C. §

3583(h) could not be applied retroactively to cases like Mr. Hill's, but also found that "in

applying the law as before the enactment of subsection (h), district courts have the authority to

order terms of supervised release following reimprisonment. " Id. at 713.

         Here, the original maximum term of supervised release was five years, and Mr. Hill,

upon revocation, was sentenced to six months imprisonment and then 4 years and 6 months of

supervised release. This complies with the state of the law at the time of Mr. Hill's original

conviction. Therefore, his motion should also be denied on its merits. Accordingly, it is hereby

         ORDERED AND ADJUDGED:

         The Motion to Terminate Probation, Doc. 1240, is denied.

         DONE AND ORDERED this 11th day of December, 2009


                                        s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge




Case No: 1:89-cr-01018-MP
